




NO. 07-08-0200-CR



IN THE COURT OF APPEALS



FOR THE SEVENTH DISTRICT OF TEXAS



AT AMARILLO



PANEL B



MAY 16, 2008

______________________________



BARRY PARTAIN,



Appellant



v.



THE STATE OF TEXAS, 



Appellee



_________________________________



FROM THE 286th DISTRICT COURT OF HOCKLEY COUNTY;



NO. 08026594; HON. HAROLD PHELAN, PRESIDING

_______________________________



ON ABATEMENT AND REMAND

_______________________________



Before QUINN, C.J., and CAMPBELL and HANCOCK, JJ.

Appellant appeals from his conviction for possession of attempted aggravated assault causing serious bodily injury. &nbsp;The clerk’s record has not been filed, but the reporter’s record is due June 6, 2008. &nbsp;An extension motion was filed by the court reporter on May 14, 2008, representing that appellant has not submitted a written designation for the record and has not paid or made arrangements to pay for the record.

Accordingly, we abate this appeal and remand the cause to the 286
th
 District Court of Hockley County (trial court) for further proceedings. &nbsp;Upon remand, the trial court shall immediately cause notice of a hearing to be given and, thereafter, conduct a hearing to determine the following:

1. &nbsp;whether appellant desires to prosecute the appeal; 

 &nbsp;&nbsp;&nbsp;	2. &nbsp;whether appellant is indigent; and, 

3. &nbsp;whether the appellant is entitled to a free appellate record due to his indigency. 



The trial court shall cause the hearing to be transcribed. &nbsp;So too shall it 1) execute findings of fact and conclusions of law addressing the foregoing issues, 2) cause to be developed a supplemental clerk’s record containing its findings of fact and conclusions of law and all orders it may issue as a result of its hearing in this matter, and 3) cause to be developed a reporter’s record transcribing the evidence and arguments presented at the aforementioned hearing, if any. &nbsp;Additionally, the district court shall then file the supplemental records and reporter’s records transcribing the hearing with the clerk of this court on or before June 16, 2008. &nbsp;Should further time be needed by the trial court to perform these tasks, then same must be requested before June 16, 2008.

It is so ordered.

Per Curiam

Do not publish.


